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                                                           EXHIBIT 1
                                      (CITATIONS TO GOODYEAR’S INSURANCE SETTLEMENTS)

      CARRIER(S)                    YEAR        AMOUNT        AMOUNT   COVERAGE RELEASE  LIMITS ON
                                                             ALLOCATED   OF JCL FOR ALL GOODYEAR’S
                                                                  TO     COSTS  FUTURE DISCRETION
                                                              SPECIFIC           COSTS    TO APPLY
                                                                SITES                    THE FUNDS
      CNA                            1997       $8 million       None     Yes     Yes       None
         GY0100875                 GY0100875    GY0100876               GY0100883    GY0100877    GY0100875
      Hartford                       1998        $2.75         None       Yes           Yes         None
         GY0100906                 GY0100906     million                GY0100918    GY0100907-   GY0100907
                                                GY0100907                            GY0100908
      Liberty                        1999         $3.5         None        Yes          Yes         None
      Mutual                       GY0100933     million               (covers all   GY0100935-
         GY0100933                              GY0100935              Ohio action   GY0100936
                                                                         claims)
                                                                        GY0100934
      Fireman’s                      1999        $87.5         None       Yes           Yes         None
         GY0100960                 GY0100 960    million                GY0100962    GY0100963    GY0100962-
                                                GY0100962               GY0100974                 GY0100963
      Northwestern                   2001       $100,000       None        Yes          Yes         None
         GY0100994                 GY0101001    GY0100997              (covers all   GY0100997-   GY0100997
                                                                       Ohio action   GY0100998
                                                                         claims)
                                                                        GY0100997
      Traveler’s                     2004        $159.37       None       Yes           Yes         None
         GY0101026                 GY0101050     million                GY0101104    GY0101035    GY0101042
                                                GY0101033
      Everest                        2005        $0.55         None       Yes           Yes         None
          GY0101122                GY0101122     million                GY0101137    GY0101125    GY0101125
                                                GY0101125
      Lloyds                         2005         $61          None        Yes          Yes         None
          GY0101146                GY0101148     million               (covers all   GY0101156-
                                                GY0101151              Ohio action   GY0101157
                                                                         claims)
                                                                        GY0101148
      London                         2005         $25          None        Yes          Yes         None
      Market                       GY0101215     million               (covers all   GY0101225-
         GY0101213                              GY0101220              Ohio action   GY0101226
                                                                         claims)
                                                                       GY0101215-
                                                                       GY0101216
      Stonewall                      2005       $575,000       None        Yes          Yes         None
         GY0101263                 GY0101269    GY0101265              (covers all   GY0101265    GY0101265
                                                                       Ohio action
                                                                         claims)
                                                                        GY0101264
TOTAL                                       $348.345 million
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